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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                            CORPUS CHRISTI DIVISION


JULIETA GARIBAY, MARIA YOLISMA                   §
GARCIA, LORENA TULE-ROMAIN,                      §
ABRAHAM JOSUE ESPINOSA FLORES,                   §
VIRIDIANA TULE CARRIZALES, EFREN                 §
GOMEZ, MARIA FELICITAS BARBOSA,                  §
JANE DOE #1, JANE DOE #2, and                    §
ELENA KEANE, on behalf of themselves and         §
all others similarly situated; SOUTHWEST         §
VOTER REGISTRATION PROJECT,                      §
MI FAMILIA VOTA EDUCATIONAL FUND,                §
LA UNIÓN DEL PUEBLO ENTERO, and                  §
UNIDOSUS,                                        §
                                                 §
        Plaintiffs,                              §
                                                 §        Civil Action No. 2:19-cv-00040
vs.                                              §
                                                 §
DAVID WHITLEY, in his official capacity          §
as Texas Secretary of State, KEN PAXTON, in §
his official capacity as Texas Attorney General, §
GREG ABBOTT, in his official capacity as         §
Governor of Texas, KIM RINN, in her official §
capacity as Austin County Tax Assessor-          §
Collector, CHERYL E. JOHNSON, in her             §
official capacity as Galveston County Tax        §
Assessor-Collector, KAREN NELSON, in her         §
official capacity as Smith County Elections      §
Administrator, and LAURA WISE, in her            §
official capacity as Wood County Elections       §
Administrator,                                   §
                                                 §
        Defendants.                              §



                   FIRST AMENDED CLASS-ACTION COMPLAINT

       This class action is filed by U.S. citizens and registered voters of Texas who have been

singled out for investigation and removal from the voter rolls by the Texas Secretary of State

because they were born outside the United States. These individual Plaintiffs, on behalf of
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themselves and a class of similarly situated individuals, seek declaratory and injunctive relief to

protect the right of eligible citizens to vote and prevent Texas officials from taking action against

them because of their national origin, race and/or color. Individual Plaintiffs are joined by

organizations, which are committed to increasing voter registration and participation of Latinos

in the political process and whose missions have been compromised by Defendants’ actions.

                                        INTRODUCTION

 1. On January 25, 2019, the Office of the Texas Secretary of State issued an Election

     Advisory to county voter registrars announcing that it would send them “actionable

     information” about registered voters who “provided documentation . . . showing that the

     person is not a citizen of the United States.”

 2. The Texas Secretary of State further instructed the registrars to use the information about

     the purported non-U.S. citizens for voter roll maintenance, including requiring the voters to

     provide documents to prove their U.S. citizenship.

 3. The Texas Secretary of State compiled its list of suspect voters from information provided

     by the Texas Department of Public Safety about individuals who were non-U.S. citizens in

     the past. These individuals obtained driver’s licenses or state identification cards when

     they were non-U.S. citizens authorized to live in the United States. The Texas driver’s

     licenses issued to lawful permanent resident immigrants are valid for six years, and during

     this time period many immigrants become eligible to naturalize and register to vote.

 4. The Texas Secretary of State is well aware that the 98,000 voters whose names he sent to

     counties as “Possible Non U.S. Citizens” include tens of thousands of naturalized U.S.

     citizens.   Since sending the records of naturalized citizen voters to the counties, the

     Secretary of State’s office has contacted the counties to advise them that the data is flawed.

     However, the Secretary of State has neither withdrawn the list of suspect voters nor advised

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   the counties to refrain from acting on the flawed information. Austin County, Galveston

   County, Smith County, and Wood County officials acted on the Election Advisory and sent

   letters challenging the U.S. citizenship of registered voters whose names were sent to them

   from the Secretary of State.

5. Plaintiffs seek a declaration that Defendants’ targeting of them for investigation and

   removal from the voter rolls, based only on the fact that they were born outside the United

   States, violates the First and Fourteenth Amendments and the federal Voting Rights Act.

   Plaintiffs further seek damages and a declaration that Defendant Texas officials conspired

   to violate their rights by coordinating an unfounded voter purge campaign with threats of

   criminal prosecution aimed at naturalized citizen voters.         Plaintiffs further seek an

   injunction requiring Defendants to cease the purge by withdrawing the list of suspect voters

   and the challenge letters sent to them.

                              JURISDICTION AND VENUE

6. This Court has subject matter jurisdiction under 28 U.S.C. § 1331 and § 1343 over

   Plaintiffs’ causes of action under the United States Constitution and federal statutes. This

   Court may grant Plaintiffs’ request for declaratory and injunctive relief under 28 U.S.C. §§

   2201 and 2202.

7. Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b) because: (1)

   Defendant Johnson (in her official capacity) resides in Galveston, Texas, which is within

   the Southern District of Texas, (2) Defendant Rinn (in her official capacity) resides in

   Austin County, Texas, which is within the Southern District of Texas, (3) a substantial part

   of the events or omissions giving rise to Plaintiffs’ claims occurred in this District, and (4)




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     Plaintiffs Doe #2, Keane, and Espinosa Flores reside in the Southern District of Texas and

     no real property is involved in this action.

                                             PARTIES
Plaintiffs

 8. Plaintiff Julieta Garibay is a Latina resident and registered voter of Travis County, Texas.

     Plaintiff Garibay is a naturalized U.S. citizen whose personal information appears on the

     list of persons identified as non-U.S. citizens provided by Defendant Whitley to Travis

     County as actionable information for investigation and removal from the voter rolls.

 9. After she became a naturalized U.S. citizen, Plaintiff Garibay registered to vote in Travis

     County, Texas. Plaintiff Garibay voted in the 2018 General Election.

 10. On or about January 28, 2019, the Secretary of State placed her personal information on his

     list of suspected non-U.S. citizens and sent it to Travis County. Travis County informed

     Plaintiff Garibay that it would review her information and make a determination on its next

     steps in the investigation of her voter registration.

 11. Plaintiff Garibay is injured by having been placed on the Secretary of State’s list of

     “Possible Non U.S. Citizens” and having her identifying information sent to the county in

     which she is registered to vote with instructions to use that information for investigation

     and possible removal from the voter rolls. Plaintiff Garibay is further injured by having

     been stigmatized as a person who might have registered to vote illegally. Plaintiff Garibay

     is further injured by being investigated for illegal registration and voting.

 12. Plaintiff Jane Doe #1 is a Latina resident and registered voter of Smith County, Texas.

     Plaintiff Doe #1 is a naturalized U.S. citizen whose personal information appears on the list

     of persons identified as non-U.S. citizens provided by Defendant Whitley to Smith County

     as actionable information for investigation and removal from the voter rolls.


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13. After she became a naturalized U.S. citizen, Plaintiff Doe #1 registered to vote in Smith

   County, Texas. Plaintiff Doe #1 voted in the 2018 General Election.

14. On January 31, 2019, the Smith County Elections Administrator’s office sent a letter to

   Plaintiff Doe #1 stating “there is reason to believe you may not be a United States citizen”

   and notifying her that if she fails to provide proof of citizenship within 30 days from the

   date of the letter, her voter registration will be cancelled.

15. Plaintiff Doe #1 is injured by having been placed on the Secretary of State’s list of

   “Possible Non U.S. Citizens” and having her identifying information sent to the county in

   which she is registered to vote with instructions to use that information for investigation

   and possible removal from the voter rolls. Plaintiff Doe #1 is further injured by having

   been sent a Notice of Examination letter by Smith County, the threat of removal, and by

   removal from the voter roll if she does not provide proof of citizenship to Smith County.

   Plaintiff Doe #1 is further injured by having been investigated for illegal registration and

   voting. Plaintiff Doe #1 is further injured by having been stigmatized as a person who

   might have registered to vote illegally.         Plaintiff Doe #1 is further injured by being

   investigated for illegal registration and voting.

16. Plaintiff Jane Doe #2 is a Latina resident and registered voter of Wood County, Texas.

   Plaintiff Doe #2 is a naturalized U.S. citizen whose personal information appears on the list

   of persons identified as non-U.S. citizens provided by Defendant Whitley to Wood County

   as actionable information for investigation and removal from the voter rolls.

17. After she became a naturalized U.S. citizen, Plaintiff Doe #2 registered to vote in Wood

   County, Texas. Plaintiff Doe #2 voted in the 2018 General Election.




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18. On or about January 28, 2019, the Secretary of State placed her personal information on his

   list of suspected non-U.S. citizens and sent it to Wood County.

19. On or about January 28, 2019, the Wood County Election Administrator’s office sent a

   letter to Plaintiff Doe #2 stating “there is reason to believe you may not be a United States

   citizen” and notifying her that if she failed to provide proof of citizenship within 30 days

   from the date of the letter, her voter registration would be cancelled. Plaintiff Doe #2

   travelled to the Wood County elections office and showed her naturalization certificate to a

   clerk.

20. Plaintiff Doe #2 is injured by having been placed on the Secretary of State’s list of

   “Possible Non U.S. Citizens” and having her identifying information sent to the county in

   which she is registered to vote with instructions to use that information for investigation

   and possible removal from the voter rolls. Plaintiff Doe #1 is further injured by having

   been sent a Notice of Examination letter by Wood County and the threat of removal from

   the voter rolls. Plaintiff Doe #2 is injured by having been required to provide proof of

   citizenship to Wood County in order to remain on the voter rolls. Plaintiff Doe #2 is

   further injured by having been subjected to an investigation into her citizenship status.

   Plaintiff Doe #2 is further injured by having been stigmatized as a person who might have

   registered to vote illegally. Plaintiff Doe #2 is further injured by being investigated for

   illegal registration and voting.

21. Plaintiff Elena Keane is a Latina resident and registered voter of Galveston County, Texas.

   Plaintiff Keane is a naturalized U.S. citizen whose personal information appears on the list

   of persons identified as non-U.S. citizens provided by Defendant Whitley to Galveston

   County as actionable information for investigation and removal from the voter rolls.



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22. Plaintiff Keane registered to vote after she became a U.S. citizen. On or about January 29,

   2019, Plaintiff Keane received a voter challenge letter from Galveston County tax assessor

   Cheryl Johnson stating “there is reason to believe you may not be a United States citizen”

   and that Plaintiff Keane would be purged from the voter rolls unless she provided a

   certified copy of her citizenship papers within 30 days.

23. On or about January 31, 2019 Plaintiff Keane received a second letter from Galveston

   County tax assessor Cheryl Johnson stating that Plaintiff Keane had received the first letter

   in error “as a result of notification to us by the Texas Secretary of State (SOS) that you may

   not be a United States citizen.”

24. Plaintiff Keane is injured by having been placed on the Secretary of State’s list of “Possible

   Non U.S. Citizens” and having her identifying information sent to the county in which she

   is registered to vote with instructions to use that information for investigation and possible

   removal from the voter rolls. Plaintiff Keane is injured by having been subjected to an

   investigation into her citizenship status, and by the letter requiring her to prove her U.S.

   citizenship. Plaintiff Keane is further injured by having been stigmatized as a person who

   might have registered to vote illegally.         Plaintiff Keane is further injured by being

   investigated for illegal registration and voting.

25. Plaintiff Maria Felicitas Barbosa is a Latina resident and registered voter of Austin County,

   Texas. Plaintiff Barbosa is a naturalized U.S. citizen whose personal information appears

   on the list of persons identified as non-U.S. citizens provided by Defendant Whitley to

   Austin County as actionable information for investigation and removal from the voter rolls.

26. After she became a naturalized U.S. citizen, Plaintiff Barbosa registered to vote in Austin

   County, Texas. Plaintiff Barbosa voted in the 2016 and 2018 General Elections.



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27. On or about January 28, 2019, the Secretary of State placed her personal information on his

   list of suspected non-U.S. citizens and sent it to Austin County.

28. On or about January 28, 2019, the Austin County Tax Assessor-Collector sent a letter to

   Plaintiff Barbosa stating “there is reason to believe you may not be a United States citizen”

   and notifying her that if she failed to provide proof of citizenship within 30 days from the

   date of the letter, her voter registration would be cancelled. Plaintiff Barbosa travelled to

   the Austin County elections office and showed her naturalization certificate to a clerk.

29. Plaintiff Barbosa is injured by having been placed on the Secretary of State’s list of

   “Possible Non U.S. Citizens” and having her identifying information sent to the county in

   which she is registered to vote with instructions to use that information for investigation

   and possible removal from the voter rolls. Plaintiff Barbosa is further injured by having

   been sent a Notice of Examination letter by Austin County and by the threat of removal

   from the voter rolls. Plaintiff Barbosa is injured by having been required to provide proof

   of citizenship to Austin County in order to remain on the voter rolls. Plaintiff Barbosa is

   injured by having been subjected to an investigation into her citizenship status. Plaintiff

   Barbosa is further injured by having been stigmatized as a person who might have

   registered to vote illegally. Plaintiff Barbosa is further injured by being investigated for

   illegal registration and voting.

30. Plaintiff Maria Yolisma Garcia is a Latina resident and registered voter of Dallas County,

   Texas. Plaintiff Garcia is a naturalized U.S. citizen who obtained a Texas driver’s license

   prior to becoming a U.S. citizen. After she became a naturalized U.S. citizen, Plaintiff

   Garcia registered to vote. Plaintiff Garcia meets the description of individuals whose

   personal information appears on the list of persons identified as non-U.S. citizens provided



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   by Defendant Whitley to Dallas County as actionable information for investigation and

   removal from the voter rolls. Plaintiff Garcia provided documentation to DPS showing that

   she was not a citizen of the United States when she first obtained a Texas driver’s license.

   She also appears on the state voter rolls maintained by the Texas Secretary of State.

31. Upon information and belief, Plaintiff Garcia is injured by having been placed on the

   Secretary of State’s list of “Possible Non U.S. Citizens” and having her identifying

   information sent to the county in which she is registered to vote with instructions to use

   that information for investigation and possible removal from the voter rolls. Plaintiff Garcia

   is further injured by having been stigmatized as a person who might have registered to vote

   illegally. Plaintiff Garcia is further injured by being investigated for illegal registration and

   voting.

32. Plaintiff Lorena Tule-Romain is a Latina resident and registered voter of Dallas County,

   Texas. Plaintiff Tule-Romain is a naturalized U.S. citizen who obtained a Texas driver’s

   license prior to becoming a U.S. citizen. After she became a naturalized U.S. citizen,

   Plaintiff Tule-Romain registered to vote. Plaintiff Tule-Romain meets the description of

   individuals whose personal information appears on the list of persons identified as non-

   U.S. citizens provided by Defendant Whitley to Dallas County as actionable information

   for investigation and removal from the voter rolls. Plaintiff Tule-Romain provided

   documentation to DPS showing that she was not a citizen of the United States when she

   first obtained a Texas driver’s license. She also appears on the state voter rolls maintained

   by the Texas Secretary of State.

33. Upon information and belief, Plaintiff Tule-Romain is injured by having been placed on the

   Secretary of State’s list of “Possible Non U.S. Citizens” and having her identifying



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   information sent to the county in which she is registered to vote with instructions to use

   that information for investigation and possible removal from the voter rolls. Plaintiff Tule-

   Romain is further injured by having been stigmatized as a person who might have

   registered to vote illegally. Plaintiff Tule-Romain is further injured by being investigated

   for illegal registration and voting.

34. Plaintiff Abraham Josue Espinosa Flores is a Latino resident and registered voter of Harris

   County, Texas. Plaintiff Espinosa Flores is a naturalized U.S. citizen who obtained a Texas

   driver’s license prior to becoming a U.S. citizen. Plaintiff Espinosa Flores registered to

   vote after becoming a U.S. citizen. Plaintiff Espinosa Flores meets the description of

   individuals whose personal information appears on the list of persons identified as non-

   U.S. citizens provided by Defendant Whitley to Harris County as actionable information

   for investigation and removal from the voter rolls. Plaintiff Espinosa Flores provided

   documentation to DPS showing that he was not a citizen of the United States when he first

   obtained a Texas driver’s license. He also appears on the state voter rolls maintained by the

   Texas Secretary of State.

35. Upon information and belief, Plaintiff Espinosa Flores is injured by having been placed on

   the Secretary of State’s list of “Possible Non U.S. Citizens” and having his identifying

   information sent to the county in which he is registered to vote with instructions to use that

   information for investigation and possible removal from the voter rolls. Plaintiff Espinoza

   Flores is further injured by having been stigmatized as a person who might have registered

   to vote illegally. Plaintiff Espinosa Flores is further injured by being investigated for

   illegal registration and voting.




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36. Plaintiff Viridiana Tule Carrizales is a Latina resident and registered voter of Bexar

   County, Texas. Plaintiff Tule Carrizales is a naturalized U.S. citizen who obtained a Texas

   driver’s license prior to becoming a U.S. citizen. After she became a naturalized U.S.

   citizen, Plaintiff Tule Carrizales registered to vote. Plaintiff Tule Carrizales meets the

   description of individuals whose personal information appears on the list of persons

   identified as non-U.S. citizens provided by Defendant Whitley to Bexar County as

   actionable information for investigation and removal from the voter rolls. Plaintiff Tule

   Carrizales provided documentation to DPS showing that she was not a citizen of the United

   States when she first obtained a Texas driver’s license. She also appears on the state voter

   rolls maintained by the Texas Secretary of State.

37. Upon information and belief, Plaintiff Tule Carrizales is injured by having been placed on

   the Secretary of State’s list of “Possible Non U.S. Citizens” and having her identifying

   information sent to the county in which she is registered to vote with instructions to use

   that information for investigation and possible removal from the voter rolls. Plaintiff Tule

   Carrizales is further injured by having been stigmatized as a person who might have

   registered to vote illegally. Plaintiff Tule Carrizales is further injured by being investigated

   for illegal registration and voting.

38. Plaintiff Efren A. Gomez is a Latino resident and registered voter of Bexar County, Texas.

   Plaintiff Gomez is a naturalized U.S. citizen who obtained a Texas driver’s license prior to

   becoming a U.S. citizen. Plaintiff Gomez registered to vote after becoming a U.S. citizen.

   Plaintiff Gomez meets the description of individuals whose personal information appears

   on the list of persons identified as non-U.S. citizens provided by Defendant Whitley to

   Bexar County as actionable information for investigation and removal from the voter rolls.



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   Plaintiff Gomez provided documentation to DPS showing that he was not a citizen of the

   United States when he first obtained a Texas driver’s license. He also appears on the state

   voter rolls maintained by the Texas Secretary of State.

39. Upon information and belief, Plaintiff Gomez is injured by having been placed on the

   Secretary of State’s list of “Possible Non U.S. Citizens” and having his identifying

   information sent to the county in which he is registered to vote with instructions to use that

   information for investigation and possible removal from the voter rolls. Plaintiff Gomez is

   further injured by having been stigmatized as a person who might have registered to vote

   illegally. Plaintiff Gomez is further injured by being investigated for illegal registration

   and voting.

40. Plaintiffs Garibay, Keane, Garcia, Tule-Romain, Espinosa Flores, Tule Carrizales, Barbosa,

   Doe #1, Doe #2, and Gomez sue on their own behalf and on behalf of:

         a. a class comprised of all persons who are now or will be naturalized U.S. citizens,

            whose records maintained by the Texas Department of Public Safety show that

            they are not citizens of the United States, and who have registered to vote in

            Texas (“General Class ”); and

         b. a subclass comprised of all members of the General Class who are Latino

            (“Latino Subclass”).

41. Plaintiff Southwest Voter Registration Education Project (“SVREP”) is a nonprofit

   organization whose mission is to build political power among Latinos and other minority

   groups by increasing their participation in the U.S. democratic process. To achieve that

   mission, SVREP conducts the following programs: get-out-the-vote; voter registration;

   voter turnout; and other programs designed to educate voters. Since it was founded in 1974,



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   SVREP has registered over 2.7 million voters. SVREP conducts its voter registration

   activities at community-based sites such as school campuses, malls, and fairs. SVREP

   registered voters and conducted get-out-the-vote activities in Bexar, Dallas, Tarrant, and

   Harris counties in 2018.

42. Defendants’ actions have injured Plaintiff SVREP by calling into question the voter

   registration of naturalized citizens in Texas and discouraging naturalized individuals from

   registering to vote and voting, thus draining SVREP’s resources and impairing SVREP’s

   ability to carry out its mission.

43. Plaintiff Mi Familia Vota Education Fund (“MFV”) is a national nonprofit organization

   whose mission is to expand the Latino electorate and increase justice for Latinos through

   increased civic participation. MFV is headquartered in Phoenix, Arizona, and serves

   individuals in Texas. To promote civic engagement in the communities it serves, MFV

   conducts citizenship assistance, voter registration, voter education, and get-out-the-vote

   activities throughout Texas, including in the Dallas, Houston, and San Antonio

   metropolitan areas. In the Houston area alone, MFV hosted 89 different voter registration

   events in 2018, and helped register voters at naturalization ceremonies. MFV registered

   approximately 3,400 people to vote in Texas in 2018.

44. Defendants’ actions have injured Plaintiff MFV by calling into question the voter

   registration of naturalized citizens in Texas and discouraging naturalized individuals from

   registering to vote and voting, thus draining MFV’s resources and impairing MFV’s ability

   to carry out its mission.

45. Plaintiff La Unión Del Pueblo Entero (“LUPE”) is a nonprofit membership organization

   founded on the belief that members of the low-income community have the responsibility



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   and the obligation to organize themselves. LUPE’s mission is to build strong, healthy

   communities in the Texas Rio Grande Valley through community organizing and civic

   engagement. To promote civic engagement in the communities it serves, LUPE conducts

   voter registration, voter education, and non-partisan get-out-the-vote campaigns, as well as

   assists individuals to prepare their naturalization applications. LUPE is headquartered in

   San Juan, Texas, and its members primarily reside in Hidalgo, Cameron, Willacy, and Starr

   Counties, Texas. LUPE has over 8,000 members, including Latino naturalized U.S. citizens

   who are registered to vote. LUPE registers voters year-round, including at its monthly

   membership meetings, at house meetings, in all of the LUPE offices and especially at the

   three area naturalization ceremonies where new citizens take their oath.

46. Plaintiff LUPE has members that meet the description of individuals whose personal

   information appears on the list of persons identified as non-U.S. citizens provided by

   Defendant Whitley to counties as actionable information for investigation and removal

   from the voter rolls. Plaintiff LUPE’s affected members are injured by having been placed

   on the Secretary of State’s list of “Possible Non U.S. Citizens” and having their identifying

   information sent to the counties in which they are registered to vote with instructions to use

   that information for investigation and possible removal from the voter rolls. Plaintiff

   LUPE’s affected members are further injured by having been stigmatized as persons who

   might have registered to vote illegally.

47. Defendants’ actions have also injured Plaintiff LUPE by calling into question the voter

   registration of naturalized citizens in Texas and discouraging naturalized individuals from

   registering to vote and voting, thus draining LUPE’s resources and impairing LUPE’s

   ability to carry out its mission.



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 48. Plaintiff UnidosUS is a nonprofit organization founded on the belief that to build a stronger

    America better opportunities must be created for Latinos. The mission of UnidosUS is to

    advocate for Latinos in the areas of civic engagement, education, the workforce, civil

    rights, immigration, health, housing, and the economy. To promote civic engagement

    among Latinos, UnidosUS registers voters through its Latino Empowerment and Advocacy

    Project (“LEAP”), as well as through its High School Democracy Project. Through these

    two programs, UnidosUS focuses on registering voters in El Paso and the Rio Grande

    Valley in Texas. Prior to the 2018 General Election, UnidosUS registered nearly 10,000

    Latinos in Texas to vote. UnidosUS conducts voter registration, voter education, and non-

    partisan get-out-the-vote campaigns. UnidosUS partners with nearly 300 affiliates across

    the country to increase civic engagement, with many of these affiliates based in Texas.

    UnidosUS also has staff and volunteers on the ground in Texas.

 49. Defendants’ actions have injured Plaintiff UnidosUS by calling into question the voter

    registration of naturalized citizens in Texas and discouraging naturalized individuals from

    registering to vote and voting, thus draining UnidosUS’s resources and impairing

    UnidosUS’s ability to carry out its mission.

Defendants

 50. Defendant David Whitley is the Texas Secretary of State. The Secretary of State is one of

    six state officials who form the Executive Department of Texas. Defendant Whitley is

    appointed by the Governor, with confirmation by the Senate, and serves at the pleasure of

    the Governor. Defendant Whitley serves as Chief Election Officer for Texas, assisting

    county election officials and ensuring the uniform application and interpretation of election

    laws throughout Texas.       Defendant Whitley provides information and instruction to



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   counties on how to administer voter registration and maintain the voter rolls, including

   when and how to investigate and remove registered voters from the rolls because of

   suspected non-U.S. citizenship.      Defendant Whitley has the ability to refer elections

   complaints to the Office of the Attorney General for investigation and prosecution. At all

   times relevant herein, Defendant Whitley acted under color of state law.             Defendant

   Whitley is sued in his official capacity.

51. Defendant Ken Paxton is the Texas Attorney General. The Office of the Attorney General

   has statewide investigation authority and concurrent prosecution authority with local

   elected prosecutors over the election laws of the State.        In his capacity as Attorney

   General, Defendant Paxton and his office investigate and prosecute violations of the Texas

   Election Code, including illegal voting. At all times relevant herein, Defendant Paxton

   acted under color of state law. Defendant Paxton is sued in his official capacity.

52. Defendant Greg Abbott is the Governor of Texas. In that capacity, he appoints and directs

   the activities of the Texas Secretary of State. Defendant Abbott is the chief executive and

   chief law enforcement officer of Texas. At all times relevant herein, Defendant Abbott

   acted under color of state law. Defendant Abbott is sued in his official capacity.

53. Defendant Kim Rinn is the Austin County Tax Assessor-Collector.            In that capacity,

   Defendant Rinn serves as the voter registrar for and maintains the voter rolls of Austin

   County. Defendant Rinn also provides the poll books for elections in Austin County and

   provides programs on voter registration, voter participation and citizenship. At all times

   relevant herein, Defendant Rinn acted under color of state law. Defendant Rinn is sued in

   her official capacity.




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 54. Defendant Cheryl E. Johnson is the Galveston County Tax Assessor-Collector. In that

     capacity, Defendant Johnson serves as the voter registrar for and maintains the voter rolls

     of Galveston County. Defendant Johnson also provides the poll books for elections in

     Galveston County and provides programs on voter registration, voter participation and

     citizenship. At all times relevant herein, Defendant Johnson acted under color of state law.

     Defendant Johnson is sued in her official capacity.

 55. Defendant Karen Nelson is the Smith County Elections Administrator. In that capacity,

     Defendant Nelson serves as the voter registrar for and maintains the voter rolls of Smith

     County. Defendant Nelson also provides the poll books for elections in Smith County and

     provides programs on voter registration, voter participation and citizenship. At all times

     relevant herein, Defendant Nelson acted under color of state law. Defendant Nelson is

     sued in her official capacity.

 56. Defendant Laura Wise is the Wood County Elections Administrator. In that capacity,

     Defendant Wise serves as the voter registrar for and maintains the voter rolls of Wood

     County. Defendant Wise also provides the poll books for elections in Wood County and

     provides programs on voter registration, voter participation and citizenship. At all times

     relevant herein, Defendant Wise acted under color of state law. Defendant Wise is sued in

     her official capacity.

                                  FACTUAL BACKGROUND

Driver’s Licenses in Texas

 57. Non-U.S. citizens who are authorized to live in the United States are eligible for Texas

     driver’s licenses and identification cards.      To obtain a driver’s license (or state

     identification card) in Texas, a non-U.S. citizen must go to the Texas Department of Public



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       Safety (DPS), complete an application, and must present to DPS “documentation issued by

       the appropriate United States agency that authorizes the applicant to be in the United States

       before the applicant may be issued a driver's license.” 1

    58. Texas requires all non-U.S. citizens who apply for a driver’s license to show a permanent

       resident immigrant card (also known as a “green card”) or other document issued by the

       federal government showing that they are authorized to live in the United States. 2

    59. In addition, Texas only allows non-U.S. citizens to demonstrate their identity through

       presentation of an “unexpired document issued by the United States Citizenship and

       Immigration Services or successor federal immigration agency” or a visa issued by the U.S.

       State Department. 3    DPS retains information showing a non-U.S. citizen’s authorized

       presence in the U.S. in that individual’s driver’s license record. 4

    60. Adult lawful permanent resident immigrants receive standard Texas driver’s licenses that

       are valid for six years. 5 All original licenses that are not provisional licenses, learner

       licenses, or occupational driver's licenses issued to a “legal permanent resident of the

       United States or a refugee or asylee lawfully admitted into the United States expire[. . .] on

       the first birthday of the license holder occurring after the sixth anniversary of the date of

       the application.” 6




1
  See Tex. Transp. Code § 521.142(a); see also 37 Tex. Admin. Code § 15.46 (“applicant for an original,
renewal, or duplicate of a Texas driver license or personal identification certificate must provide
information relating to their United States citizenship and provide their county of residence at the time of
application.”).
2
  Id.
3
  37 Tex. Admin. Code § 15.24(1).
4
  See Tex. Transp. Code § 521.041(a); see also 37 Tex. Admin. Code § 15.101 (DPS “is required by law
to maintain records on licensed drivers.”).
5
  See Tex. Transp. Code § 521.271.
6
  Tex. Transp. Code § 521.271(a)(1).


                                                    18
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    61. Non-U.S. citizens with long-term visas authorizing them to live and work in the U.S. also

       receive long-term driver’s licenses. 7        Certain other non-U.S. citizens receive driver’s

       licenses of shorter duration but these licenses can be renewed by showing a new document

       that authorizes continued presence in the U.S. 8

    62. Lawful permanent resident immigrants very commonly naturalize and register to vote.

       There is no requirement for naturalized U.S. citizens to present proof of citizenship to DPS

       upon naturalization or prior to the expiration of their driver’s licenses. A Texas driver’s

       license holder is only required to notify DPS if the person changes address or seeks

       protection of personal information. 9

    63. Citizenship information is not updated by DPS until after the driver’s license holder brings

       the agency proof of U.S. citizenship; this can be years after the individual is naturalized and

       registered to vote. Even if DPS updates its records to reflect the new U.S. citizenship of a

       driver’s license holder, DPS retains the information that the individual originally secured

       the driver’s license as a non-U.S. citizen.

Naturalizations in Texas

    64. Lawful permanent resident immigrants typically become eligible for naturalization in five

       years. The waiting period is four years for asylees who have permanent resident status and

       three years for spouses of U.S. citizens. Thus a typical permanent resident immigrant in

       Texas who obtains a six-year driver’s license will be eligible to become a U.S. citizen

       before that driver’s license expires. It may be several years between the time a new U.S.




7
  Tex. Transp. Code § 521.271(a-2)-(a-4).
8
  See Tex. Transp. Code § 521.1425(c)(2).
9
   See Tex. Transp. Code § 521.054 (a)-(b).


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        citizen registers to vote and the time she goes to DPS to renew her driver’s license and

        provide updated citizenship information.

     65. According to the U.S. Department of Homeland Security, for fiscal year 2012 through

        fiscal year 2017, less than the time period of a standard driver’s license, over 340,000

        individuals naturalized in Texas. An average of 58,092 individuals naturalized in Texas in

        each of those years.

     66. The U.S. Department of Homeland Security also reported, for fiscal year 2012 through

        fiscal year 2017, that 47% of the immigrants naturalized in Texas were originally from the

        Latin American countries of Mexico, El Salvador, Guatemala, Honduras, Colombia, Cuba,

        Peru, and Venezuela.

     67. According to data from the United States Census Bureau, among Texas naturalized U.S.

        citizens, 51.7% are Latino. Only 11.6% of Texas naturalized citizens are non-Latino

        White. 10

     68. Both local election officials and non-profit organizations offer voter registration assistance

        to newly naturalized citizens outside of naturalization ceremonies. For example, the Harris

        County Voter Registrar routinely sends staff members to naturalization ceremonies in the

        Houston area to register new voters. In addition, naturalized voters in Texas may register

        to vote at the Texas Department of Public Safety, by mail, at the voter registrar’s office and

        at community events where voter registration is offered.

Latino Political Participation in Texas

     69. In 2017, the Latino citizen voting age population of Texas was approximately 30%.

10
  American Community Survey FactFinder, Selected Characteristics of the Native and Foreign-Born
Populations (Texas), United States Census Bureau (2017 5-year ACS data), available at
https://factfinder.census.gov/bkmk/table/1.0/en/ACS/17_5YR/S0501/0400000US48 (accessed January
31, 2019).


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     70. Among Texas Latinos who are eligible to vote (adult U.S. citizens), 17% are naturalized

        U.S. citizens.

     71. In the 2018 midterm election, Texas Latino voters more than doubled their turnout when

        compared to the 2014 midterm elections. According to the Texas Legislative Council and

        Texas Secretary of State, in the 2014 midterm elections, 682,741 Latinos cast votes. In the

        2018 midterm elections, 1,604,589 Latinos cast votes.

     72. Compared with 2014, Texas Latinos increased their vote share in the 2018 midterm

        election by about five percentage points. According to the Texas Legislative Council and

        Texas Secretary of State, in 2014, Latinos cast 14.4% of all votes cast. In 2018, Latinos

        cast 19.1% of all votes cast.

The Secretary of State’s List of “Possible Non U.S. Citizens”

     73. On January 25, 2019, Defendant Whitley’s Director of Elections Keith Ingram released

        Election Advisory No. 2019-02 (“the Advisory”) to all voter registrars in Texas. The

        Advisory stated that the office of the Secretary of State, beginning the following day,

        would provide to Texas counties information about “individuals who provided

        documentation to DPS showing that the person is not a citizen of the United States during

        the process of obtaining or acquiring a Texas Driver License or Personal Identification

        Card from DPS.” 11

     74. The Advisory stated that the office of the Secretary of State had worked with DPS since

        March 2018 to “produce actionable information voter registrars” could use for voter list

        maintenance. 12 While doing so, the Secretary of State claimed in the Advisory that his


11
   Election Advisory No. 2019-02, Texas Secretary of State (January 25, 2019), available at
https://www.sos.state.tx.us/elections/laws/advisory2019-02.shtml (accessed January 30, 2019).
12
   Id.


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        office “sought to create the strongest matching criteria that produces the least possible

        impact on eligible Texas voters while fulfilling the responsibility to manage the voter

        rolls,” in accordance with Section 18.0681 of the Texas Election Code. 13 The Advisory

        further advised counties that “we believe the data we are providing can be acted on in

        nearly all circumstances.” 14

     75. The Advisory stated that Defendant Whitley’s office limited the DPS data that it was going

        to produce to counties “to individuals who provided valid documents indicating the person

        is not a citizen of the United States at the time the person obtained a Driver License or

        Personal Identification Card.” (emphasis added). 15

     76. The Advisory stated: “Our office has obtained the preliminary data file for all current

        (unexpired) Driver License and Personal Identification cards that meet this criteria, and we

        will run that set of information tomorrow evening.” 16

     77. In creating the list, Defendant Whitley’s office compared all current driver’s licenses to

        voting records dating back to 1996. 17

     78. The Advisory anticipated that counties would be met with requests from the public for the

        lists of non-U.S. citizens but urged counties to contact their “local prosecutor and the




13
    Id. The Election Code Section cited by the Advisory deals with “matching criteria” for potentially
duplicate voter records, or voters who may “have more than one voter registration record on file.” Tex.
Elec. Code § 18.0681(a).
14
   Election Advisory No. 2019-02, Texas Secretary of State (January 25, 2019), available at
https://www.sos.state.tx.us/elections/laws/advisory2019-02.shtml (accessed January 30, 2019).
15
   Id.
16
   Id.
17
   Robert T. Garrett, Texas' top election official: About 58,000 non-citizens cast ballots in state elections
since 1996, Dallas News (January 25, 2019), available at https://www.dallasnews.com/news/texas-
politics/2019/01/25/texas-top-election-official-since-1996-tens-thousands-non-citizens-voted-state-
elections (accessed February 6, 2019).


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        attorney general, who have jurisdiction over such matters” if the counties received such

        requests. 18

     79. The Advisory claimed that the criteria used to match registered voters to driver’s license

        records are “some of the strongest possible matching criteria used” by the Secretary of

        State and advised that “the county may choose to investigate the voter, pursuant to Section

        16.033, Election Code.” The Advisory also explained that if the list being sent by the

        office of the Secretary of State “provides the registrar with reason to believe the person is

        no longer eligible for registration . . . the registrar should send a Notice of Examination for

        Citizenship (Proof of Citizenship) (PDF) Letter.” 19

     80. The Advisory provided county registrars with instructions to send voters a form letter

        stating: “Your registration status is being investigated because there is reason to believe

        you may not be a United States citizen. . . You are now required to confirm your eligibility

        for registration by providing proof of citizenship to maintain your registration status. . . If

        you fail to provide this proof of citizenship within 30 days from the date of this letter, your

        voter registration will be cancelled.” 20

     81. Upon publishing its Advisory, the Texas Secretary of State’s office also published a news

        release on January 25, 2019, announcing that Defendant Whitley “issued an advisory to




18
   Election Advisory No. 2019-02, Texas Secretary of State (January 25, 2019), available at
https://www.sos.state.tx.us/elections/laws/advisory2019-02.shtml (accessed January 30, 2019).
19
    Id.; see also “Notice to Registered Voter for Proof of Citizenship,” Texas Secretary of State, available
at https://www.sos.state.tx.us/elections/forms/bw1-12.pdf (accessed January 31, 2019).
20
   Election Advisory No. 2019-02, Texas Secretary of State (January 25, 2019), available at
https://www.sos.state.tx.us/elections/laws/advisory2019-02.shtml (accessed January 30, 2019); see also
“Notice to Registered Voter for Proof of Citizenship,” Texas Secretary of State, available at
https://www.sos.state.tx.us/elections/forms/bw1-12.pdf (accessed January 31, 2019).


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        county voter registrars regarding voter registration list maintenance activities, which

        include identifying any non-U.S. citizens registered to vote in the State of Texas.” 21

     82. Defendant Whitley claimed that his office had “discovered that a total of approximately

        95,000 individuals identified by DPS as non-U.S. citizens have a matching voter

        registration record in Texas, approximately 58,000 of whom have voted in one or more

        Texas elections.” The news release further emphasized that “[v]oting in an election in

        which the person knows he or she is not eligible to vote is a second-degree felony in the

        State of Texas” and declared that the office of the Secretary of State had “immediately

        provided the data in its possession to the Texas Attorney General’s office, as the Secretary

        of State has no statutory enforcement authority to investigate or prosecute alleged illegal

        activity in connection with an election.” 22

     83. Defendant Whitley’s news release also stated that his office provided the information about

        potential non-U.S. citizen to counties “so that the county voter registrar can take action.”23

        The news release declared that “[i]f a registered voter is identified as a non-U.S. citizen, he

        or she should receive a Notice of Examination (PDF) from the county voter registrar

        indicating that his or her registration status is being examined on the grounds that he or she

        is not a U.S. citizen.” (emphasis added). 24

     84. On the same day that Defendant Whitley issued his Advisory and news release, Defendant

        Attorney General Paxton issued a press release declaring “Texas Secretary of State’s Office

        Discovers Nearly 95,000 People Identified by DPS as Non-U.S. Citizens are Registered to

21
    Secretary Whitley Issues Advisory On Voter Registration List Maintenance Activity, Texas Secretary of
State (January 25, 2019), available at https://www.sos.texas.gov/about/newsreleases/2019/012519.shtml
(accessed January 30, 2019).
22
   Id.
23
   Id.
24
   Id.


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        Vote in Texas.” The news release referenced the Secretary of State’s press release and

        stated that every “instance of illegal voting threatens democracy in our state and deprives

        individual Texans of their voice.” Defendant Paxton further stated “My Election Fraud

        Unit stands ready to investigate and prosecute crimes against the democratic process when

        needed.” 25

     85. Also on January 25, 2019, Defendant Paxton tweeted: “VOTER FRAUD ALERT: The

        @TXsecofstate discovered approx 95,000 individuals identified by DPS as non-U.S.

        citizens have a matching voter registration record in TX, approx 58,000 of whom have

        voted in TX elections. Any illegal vote deprives Americans of their voice.” 26

     86. Defendant Governor Abbott also tweeted on January 25, 2019: “Thanks to Attorney

        General Paxton and the Secretary of State for uncovering and investigating this illegal vote

        [sic] registration. I support prosecution where appropriate. The State will work on

        legislation to safeguard against these illegal practices. #txlege #tcot” 27

     87. On January 27, 2019, two days after Defendant Whitley’s office published its press release

        and Advisory, President Donald J. Trump announced on Twitter: “58,000 non-citizens

        voted in Texas, with 95,000 non-citizens registered to vote. These numbers are just the tip




25
   AG Paxton: Texas Secretary of State’s Office Discovers Nearly 95,000 People Identified by DPS as
Non-U.S. Citizens are Registered to Vote in Texas, Ken Paxton, Attorney General of Texas (January 25,
2019), available at https://www.texasattorneygeneral.gov/news/releases/ag-paxton-texas-secretary-states-
office-discovers-nearly-95000-people-identified-dps-non-us-citizens (accessed 31 Jan. 2019).
26
   Ken Paxton (@KenPaxtonTX), Twitter (January 25, 2019, 12:37 PM),
https://twitter.com/KenPaxtonTX/status/1088898595653386240.
27
   Greg Abbott (@GregAbbott_TX), Twitter, (January 25, 2019, 1:57 PM)
https://twitter.com/GregAbbott_TX/status/1088918898643271680.


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        of the iceberg. All over the country, especially in California, voter fraud is rampant. Must

        be stopped. Strong voter ID!” 28

     88. The Secretary of State’s announcement, and subsequent public statements by the Texas

        Attorney General and Governor, quickly snowballed into news reports declaring that state

        officials had discovered thousands of non-U.S. citizens on the state’s voter rolls.

     89. On January 25, 2019, local news station WFAA in Dallas reported, that “[a]bout 95,000

        non-citizens are registered to vote in Texas, and more than half of those have cast ballots in

        at least one election, Texas Secretary of State David Whitley announced on Friday.” The

        outlet also reported that “[o]f he 95,000 non-citizens registered, 58,000 have voted in one

        or more elections since 1996.” 29

     90. On January 26, 2019, Fox News reported that “Texas Attorney General Ken Paxton

        announced Friday that the state has discovered 95,000 non-citizens on the voter rolls going

        back to 1996, 58,000 of whom have voted in at least one Texas election.” 30

     91. On January 31, 2019, a local television station in Laredo, Texas reported that “[t]he Webb

        County Elections Administration has received notice that there are over one-thousand non-

        citizen voters in the county.” 31



28
   President Donald J. Trump (@realDonaldTrump), Twitter (January 27, 2019, 5:22 AM)
https://twitter.com/realDonaldTrump/status/1089513936435716096.
29
   Ryan Osborne, 95,000 non-citizens are registered to vote in Texas, state officials discover, WFAA
(January 25, 2019, updated January 28, 2019), available at https://www.wfaa.com/article/news/95000-
non-citizens-are-registered-to-vote-in-texas-state-officials-discover/287-c0b07849-016f-42c8-b0fb-
5418dbd3f5d4?fbclid=IwAR3R9BhE_VpKUtNpbckI340E2UkcPENk7mOt_X_lQR8yd8yT4mEPLbU9g
8E (accessed February 1, 2019).
30
   Adam Shaw, Texas says it found 95,000 non-citizens on voter rolls; 58,000 have voted, Fox News
(January 26, 2019), available at https://www.foxnews.com/politics/texas-says-it-has-discovered-95000-
non-citizens-on-voter-rolls-58000-have-voted (accessed February 1, 2019).
31
   Non-citizen voter registration in Texas, KGNS-TV (January 31, 2019)
https://www.kgns.tv/content/news/Non-citizen-voter-registration-in-Texas-505173711.html (accessed
February 1, 2019).


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     92. On January 25, 2019, Breitbart News headlined “95K Noncitizens Registered to Vote in

        Texas, Say State Officials,” and stated that according to the Attorney General of Texas, the

        Secretary of State had “discovered troubling figures — roughly 95,000 individuals

        identified as non-U.S. citizens by the Texas Department of Public Safety (DPS) are

        registered to vote and, 58,000 of those, 61 percent, voted at least once.” 32

The Secretary of State’s Office Soon Advised Counties that its List is Flawed

     93. The purpose of Defendant Whitley’s list of “Possible Non U.S. Citizens,” and the

        accompanying instructions to county voter registrars in Election Advisory No. 2019-02, is

        to create a program to systematically remove the names of individuals from the official list

        of eligible voters.

     94. On January 28, 2019, the Monday following Defendant Whitley’s issuance of the Election

        Advisory and list of suspected non-U.S. citizen voters, Defendant Cheryl Johnson, the

        Galveston County tax assessor-collector, said she would immediately send out letters to the

        individuals on her list. Ms. Johnson claimed she was following state law by starting to

        send letters to the more than 830 people in Galveston County that the Secretary of State

        had flagged. 33 Defendant Johnson proceeded to send letters to voters on the suspected non-

        U.S. citizen voter list that day. 34

     95. The following day, Tuesday January 29, 2019, the Secretary of State’s office began to call

        county voter registration officials to advise them that the information on the list of

32
   Merrill Hope, 95K Noncitizens Registered to Vote in Texas, Say State Officials, Breitbart News
(January 25, 2019), available at https://www.breitbart.com/border/2019/01/25/95k-noncitizens-registered-
to-vote-in-texas-say-state-officials/ (accessed February 1, 2019).
33
   Alexa Ura, Some Texas voters already are being asked to prove their citizenship after state's
announcement, The Texas Tribune (January 28, 2019), available at
https://www.texastribune.org/2019/01/28/some-texas-voters-are-already-being-asked-prove-their-
citizenship-foll/ (accessed February 1, 2019).
34
   Id.


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        suspected non-U.S. citizen voters “may be flawed.” 35 The Secretary of State’s office

        further advised the counties “that some on the lists shouldn’t be there because they had

        already proven their citizenship when they registered to vote at naturalization ceremonies

        or at a Texas Department of Public Safety office.” 36

     96. Cameron County Elections Administrator Remi Garza commented publicly that the

        Secretary of State’s office gave Mr. Garza’s office information on January 29 “that

        suggested the numbers they were originally provided ‘may have been overstated’ and that

        ‘individuals that had already provided proof of citizenship to the DPS office had been

        included in the original list provided to the county.’” 37

     97. The Secretary of State’s office advised Cameron County on January 29 that “1,590 people

        [. . .] were wrongly on the list,” then later called Mr. Garza’s office to say that “the 1,590

        figure was incorrect,” but gave no further information. 38



35
   James Barragán, Julieta Chiquillo, and Robert T. Garrett, Some names in list of 98,000 potential non-
citizen voters included 'in error,' county officials say, citing state, Dallas News powered by the Dallas-
Morning News (January 29, 2019), available at
https://www.dallasnews.com/news/elections/2019/01/29/list-98000-potential-non-citizen-voters-may-
overstated-texas-secretary-state-tells-counties (accessed January 30, 2019); see also Alexa Ura, Texas
quietly informs counties that some of the 95,000 voters flagged for citizenship review don't belong on the
list, The Texas Tribune (January 29, 2019), available at https://www.texastribune.org/2019/01/29/texas-
voter-citizenship-list-problems-state-tells-counties/ (accessed January 30, 2019).
36
   See Guillermo Contreras and Dylan McGuinness, State hedges on claim that 100,000 Texas voters
aren’t citizens, faces federal lawsuit, San Antonio Express-News (January 29, 2019), available at
https://www.expressnews.com/news/local/article/LULAC-sues-Texas-over-witch-hunt-move-to-
13570848.php?utm_source=newsletter&utm_medium=email&utm_campaign=MySA_Daily_eEdition
(accessed January 30, 2019).
37
   James Barragán, Julieta Chiquillo, and Robert T. Garrett, Some names in list of 98,000 potential non-
citizen voters included 'in error,' county officials say, citing state, Dallas News powered by the Dallas-
Morning News (January 29, 2019), available at
https://www.dallasnews.com/news/elections/2019/01/29/list-98000-potential-non-citizen-voters-may-
overstated-texas-secretary-state-tells-counties (accessed January 30, 2019)
38
   Guillermo Contreras and Dylan McGuinness, State hedges on claim that 100,000 Texas voters aren’t
citizens, faces federal lawsuit, San Antonio Express-News (January 29, 2019), available at
https://www.expressnews.com/news/local/article/LULAC-sues-Texas-over-witch-hunt-move-to-


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  98. Also on Tuesday January 29, the Secretary of State’s office contacted McLennan County’s

      Election Administrator Kathy Van Wolfe to tell Ms. Van Wolfe “to disregard the list.”39

      Ms. Van Wolfe stated publicly that Defendant Whitley’s office told her that “[a]ll those

      people have proven citizenship.” 40        By the afternoon of January 29, Hidalgo County

      elections administrator Yvonne Ramón announced that she had “determined there were 100

      duplicates” on the list sent to her by the Secretary of State’s office. 41

  99. Also on Tuesday January 29, the Travis County tax assessor-collector, Bruce Elfant, stated

      publicly that his office was trying to organize a “jumble” of information it received on

      4,500 voters into a usable format. Mr. Elfant further stated “I said to the secretary of

      state’s office this morning, ‘It would have been nice if you sent it in a spreadsheet,’ [and]

      they told me, ‘Well, we didn’t.’ A lot of things would have been nice, I guess.” 42

  100. That same day, the Dallas County Elections Administrator Toni Pippins-Poole stated

      publicly: “We received a call from the state saying we should put things on hold . . . Some




13570848.php?utm_source=newsletter&utm_medium=email&utm_campaign=MySA_Daily_eEdition
(accessed January 30, 2019).
39
   Cassie L. Smith, State: All 366 on local list of potential noncitizen voters are citizens, Waco Tribune-
Herald (January 31, 2019), available at https://www.wacotrib.com/news/elections/state-all-on-local-list-
of-potential-noncitizen-voters-are/article_20771942-538d-506d-bcad-
7e7ca79e261d.html?platform=hootsuite (accessed January 31, 2019).
40
   Id.
41
   Guillermo Contreras and Dylan McGuinness, State hedges on claim that 100,000 Texas voters aren’t
citizens, faces federal lawsuit, San Antonio Express-News (January 29, 2019), available at
https://www.expressnews.com/news/local/article/LULAC-sues-Texas-over-witch-hunt-move-to-
13570848.php?utm_source=newsletter&utm_medium=email&utm_campaign=MySA_Daily_eEdition
(accessed January 30, 2019).
42
   Liam Stack, Many Texas Voters Whose Citizenship Was Questioned Are in Fact Citizens, New York
Times (January 29, 2019), available at https://www.nytimes.com/2019/01/29/us/texas-voter-citizenship-
list.html (accessed January 30, 2019).


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        of the data that they received was flawed. Some of the voters had already provided proof

        of citizenship.” 43

     101. By Wednesday, January 30, 2019, Harris County had reported that 18,000 individuals on

        the Secretary of State’s list of suspected non-U.S. citizen registrants had already been

        identified as citizens and that Harris County expected more mistakes to be discovered. 44

     102. That same day, the McLennan County Elections Administrator announced that all 366

        registered voters that the Secretary of State targeted for investigation in that county are

        U.S. citizens. 45

     103. The Williamson County Election Administrator, who is also president of the Association

        of Texas Elections Administrators, announced that more than half of the 2,033 voters on

        his county’s list were being removed after the Secretary of State’s revision. 46

     104. Two distinct problems had emerged immediately with the Secretary of State’s list of

        possible non-U.S. citizen voters. First, the Secretary of State’s list contained voters whose

        registrations were coded by the Secretary of State to indicate that they had registered to

        vote at DPS and the agency had verified their citizenship. This registration source code is

        known as “source code 64.”


43
   Paul Weber, Texas tells counties noncitizen voter report may be flawed, Associated Press (January 29,
2019), available at https://www.apnews.com/e959bf0789a94456918a93d43542505b (accessed February
1, 2019).
44
   Associated Press, 18K Houston area voters removed from citizenship check, The Tribune (January 30,
2019) available at http://www.tribtown.com/2019/01/30/us-texas-voter-rolls-4/ (accessed January 31,
2019).
45
   Cassie L. Smith, State: All 366 on local list of potential noncitizen voters are citizens, Waco Tribune-
Herald, (January 30, 2019) available at https://www.wacotrib.com/news/elections/state-all-on-local-list-
of-potential-noncitizen-voters-are/article_20771942-538d-506d-bcad-7e7ca79e261d.html (accessed
February 1, 2019).
46
   James Barragán, Robert T. Garrett, and Julieta Chiquillo, Tens of thousands removed from potential
non-citizen voters list after counties find flawed data, Dallas Morning News (January 31, 2019), available
at https://www.dallasnews.com/news/texas-politics/2019/01/30/tens-thousands-removed-potential-non-
citizen-voters-list-after-counties-find-flawed-data (accessed February 1, 2019).


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     105. The Secretary of State’s office reportedly told the Cameron County registrar Mr. Garza

        on January 29 that looking for voters on the list who were assigned a “source code 64” by

        the Secretary of State and eliminating those voters as having already provided proof of

        citizenship would remove “well over” 1,500 from the Cameron County list of suspected

        non-U.S. citizen voters. 47

     106. The second problem with the Secretary of State’s list of suspected non-citizen voters was

        that it contained naturalized citizens who registered to vote after they became U.S. citizens

        and before their driver’s license expired and needed to be renewed at DPS. In the days

        following its release of the 98,000 names of voters labelled non-U.S. citizens, the Secretary

        of State’s office called counties to urge them to consult any county records showing that

        the voters on the list had been registered at a naturalization ceremony. 48

     107.   As of this date, many if not all of the eligible voters erroneously identified as non-U.S.

        citizens by the Secretary of State are naturalized U.S. citizens.

     108. Nevertheless, the voter purge continues. Counties continue to remove names from the

        Secretary of State’s list that the counties can verify are U.S. citizens but continue to send

        Notice of Examination letters to voters who remain on the list of suspected non-citizens.

     109. However, counties are using wildly different standards to conduct their investigations

        into citizenship status. Some counties, like Wood County, sent Notice of Examination




47
   Alexa Ura, How An Attempt To Review Texas’ Voter Rolls Turned Into A Debacle, Texas Tribune
(February 4, 2019), available at http://www.tpr.org/post/how-attempt-review-texas-voter-rolls-turned-
debacle (accessed February 8, 2019).
48
   See fn. 33, supra, and Phil Prazan, County officials: Texas non-citizen voter list is 'too big,' wrong,
KXAN, (January 30, 2019) available at https://www.kxan.com/news/local/austin/county-officials-texas-
non-citizen-voter-list-is-too-big-wrong/1737151727 (accessed February 1, 2019).


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        letters to all the voters on the list sent by the Texas Secretary of State. 49 Other counties,

        like Galveston County, sent Notice of Examination letters to all voters on their list of

        suspected non-citizen voters, but sent retraction letters to some of those individuals after

        narrowing their list of names following conversations with the Secretary of State’s office.

     110. Smith County, in contrast, reviewed names first, tried to remove any individual it could

        determine is a U.S. citizen, and then sent letters that same week to the remaining

        individuals on the County’s suspected non-citizen list, including Plaintiff Jane Doe #1.

        Smith County’s registrar Defendant Nelson stated publicly: “We got the file from the state

        on Monday . . . We are working through the list and looking at each person on the list to

        see if any of the cases can be resolved by our office before sending the voter a letter of

        examination. We have to send a letter of examination to each person whose case cannot be

        resolved . . . We expect to get the letters sent out by the end of this week.” 50

     111. Smith County sent its letter to Jane Doe #1 on January 31, 2019, apparently after trying

        and being unable to “resolve” her voter registration using its own records and SOS records.

     112. Travis County intends to follow a procedure similar to Smith County’s, but it will not

        send letters unless and until it completes a manual review of every name on its list.

        Pursuant to this manual review, Travis County will determine if any of its voluntary deputy

        registrars registered any individual on the list at a naturalization ceremony in the County.




49 Hank Murphy, Letters go out to 21 Wood County voters inquiring about citizenship, Wood County
Monitor (February 6, 2019) available at http://woodcountymonitor.com/stories/letters-to-voters-about-
citizenship,132306 (accessed February 10, 2019)
50
   LouAnna Campbell, Smith County elections office looking into 297 possible non-U.S. citizens
registered to vote, Tyler Morning Telegraph (January 29, 2019), available at
https://tylerpaper.com/lifestyle/family/smith-county-elections-office-looking-into-possible-non-u-
s/article_f9f05224-23db-11e9-afd9-13f3df5be3b5.html (accessed February 8, 2019).


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 113. Other counties, such as Hidalgo County, cannot perform the same type of manual review

     as Travis County because the county does not send registrars or deputy registrars to

     naturalization ceremonies. Hidalgo County intends to rely on Plaintiff LUPE to identify

     some members on the County’s suspected non-citizens list through LUPE’s review of the

     organization’s records.

 114. As a result of these arbitrary and disparate standards, Plaintiffs are being treated

     differently depending on the county in which they reside.

 115. For example, in Galveston County, Plaintiff Keane received a letter demanding that she

     provide proof of citizenship, and then received a second letter retracting the first. Now she

     is worried that if she votes again she will be criminally investigated.

 116. In Wood County, Plaintiff Doe #2 received a Notice of Examination letter, without

     letterhead, which stated: “If you should have any questions concerning this notice, please

     contact me at ___________ (phone number),” but the space for the phone number was left

     blank.   The letter also purported to enclose a response form, but no such form was

     enclosed. Plaintiff Doe #2 searched the internet and called County employees until she

     understood the significance of the letter. Plaintiff Doe #2 was only able to prove her

     citizenship by calling and ultimately going in person to the county courthouse, virtually

     ensuring that other voters in Wood County will be purged because they do not know where

     to send their proof of citizenship or whom to call with questions.

 117. Other voters are waiting in limbo because the counties in which they are registered to

     vote have not sent any letters, but have not disavowed their suspected non-citizen lists.

     These voters are stigmatized and fear that they are under investigation.

The Matching Procedure Employed by Defendant has and will Continue to Target Naturalized
Citizens for Investigation and Removal from the Voter Rolls


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     118. The matching procedure used by Defendant Whitley to create his list of “Possible Non

        U.S. Citizens” relies on outdated and inaccurate records from DPS; the resulting list has

        erroneously identified numerous registered voters in Texas who are U.S. citizens who are

        properly registered to vote and who could be deprived of their right to vote in Defendants’

        purge effort.

     119. In preparing his list of “Possible Non U.S. Citizens,” Defendant Whitley performed the

        matching procedure between driver’s license records and voter records dating back to at

        least 1996. 51 Thus, his list of suspected non-U.S. citizen voters includes immigrants who

        showed proof of authorized presence in the U.S. during the process of obtaining a driver’s

        license decades ago. Thousands of naturalized citizens who registered to vote are included

        on the Secretary of State’s list of suspected non-U.S. citizen voters.

     120. The errors in Defendant Whitley’s matching procedure are systematic, predictable, and

        specific to foreign-born U.S. citizens.

     121. The matching procedure employed by Defendant Whitley will continue to identify

        naturalized U.S. citizens as suspected non-U.S. citizens registered as voters. Defendant

        Whitley’s press release stated:

          Going forward, the Texas Secretary of State’s office will use information it
          obtains from DPS on a monthly basis to cross-reference with Texas’ statewide
          voter registration database and match potential non-U.S. citizens who have
          registered to vote. Once a voter registration is identified as a match, the Texas




51
  Gregg Re, List of 95K ineligible voters on the rolls may be overstated, Texas State Department
suggests, FOX News (January 30, 2019) available at https://www.foxnews.com/politics/texas-state-
officials-suggest-report-of-95k-ineligible-voters-may-have-been-dramatically-overstated (accessed
February 1, 2019).


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          Secretary of State’s office will notify the county in which the person is registered
          so that the county voter registrar can take action. 52

     122. Thus Defendant Whitley’s matching procedure will flag, on a monthly basis, any new

        registrants whose past driver’s license records show they were not U.S. citizens and send

        those registrants’ names to the counties for investigation and possible removal from the

        voter rolls. The matching procedure will flag, routinely and predictably, every newly

        naturalized citizen who registers to vote and who already has a Texas driver’s license. 53

Defendant will not Rescind the Advisory, Withdraw the Suspect Voter List, or Provide Written
Guidance to Counties Regarding the Flaws in the Suspect Voter List

     123. On January 31, 2019, former Texas Secretary of State Carlos Cascos, who was appointed

        by and served two years under Governor Greg Abbott, commented publicly on list of

        suspected non-U.S. voters: “I think they need to rescind it, do due diligence and make a

        more accurate list.” He further recommended that the Secretary of State “contact everyone

        and admit to it and say, ‘We made an honest mistake,’ and recompile the list.” 54

     124. Mr. Cascos also stated that he never went through the type of exercise that led to

        Defendant Whitley’s list of suspected non-U.S. citizen voters: “To my knowledge, that did

        not occur while I was in office [and] I never saw such a correlation [between DPS and

        voter role databases]. That discussion never took place.” 55



52
   Secretary Whitley Issues Advisory On Voter Registration List Maintenance Activity, Texas Secretary of
State (January 25, 2019), available at https://www.sos.texas.gov/about/newsreleases/2019/012519.shtml
(accessed January 30, 2019).
53
   Election Advisory No. 2019-02, Texas Secretary of State (January 25, 2019), available at
https://www.sos.state.tx.us/elections/laws/advisory2019-02.shtml (accessed January 30, 2019).
54
   Carlos Sanchez, Former Texas Secretary of State Believes Inaccurate Voting List Should Be Rescinded,
Texas Monthly (January 31, 2019), available at https://www.texasmonthly.com/politics/former-texas-
secretary-of-state-believes-inaccurate-voting-list-should-be-rescinded/ (accessed January 31, 2019).
55
   Carlos Sanchez, Former Texas Secretary of State Believes Inaccurate Voting List Should Be Rescinded,
Texas Monthly (January 31, 2019), available at https://www.texasmonthly.com/politics/former-texas-
secretary-of-state-believes-inaccurate-voting-list-should-be-rescinded/ (accessed January 31, 2019).


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     125. By contrast, when asked whether he thought the investigation process should stop after

        local officials found serious issues with the list, Defendant Abbott responded: “Listen, this

        isn’t a hard and fast list” 56 and further stated: “This is what we would categorize as a

        process, a work in process . . . They will get it right.” 57

     126. Williamson County Elections Administrator Chris Davis, stated publicly in an email on

        Tuesday January 29, 2019, that “Williamson County has also received NO written

        instructions after yesterday morning’s call from the” Secretary’s office. 58

     127. On February 1, 2019, the Secretary of State’s office emailed the counties once again,

        suggesting additional methods to investigate the citizenship of individuals on its list of

        suspected non-U.S. citizens, including contacting federal immigration authorities. 59 The

        Secretary of State’s email to the counties neither admitted that its list of suspected non-U.S.

        citizens was flawed nor suggested that counties refrain from investigating the names on the

        list until state officials could correct the list. 60 The Secretary of State’s email did not

        provide clear rules or standards to determine when, if at all, counties should issue Notice of

        Examination letters to ensure the equal treatment of voters across counties.

56
   Id.
57
   Ashley Lopez, Gov. Greg Abbott Says Alleged Noncitizen Voter Purge Is A 'Work In Process,' KUT
(January 31, 2019), available at http://www.kut.org/post/gov-greg-abbott-says-alleged-noncitizen-voter-
purge-work-process (accessed January 31, 2019).
58
   James Barragan, Tens of Thousands removed from potential non-citizen voters list after counties find
flawed data, Dallas News (January 31, 2019), available at https://www.dallasnews.com/news/texas-
politics/2019/01/30/tens-thousands-removed-potential-non-citizen-voters-list-after-counties-find-flawed-
data (accessed February 1, 2019).
59
   James Barragán and Julieta Chiquillo, Texas issues new guidelines for counties to probe whether
noncitizens voted, Dallas Morning News (February 1, 2019), available at
https://www.dallasnews.com/news/texas-politics/2019/02/01/texas-officials-issue-new-guidelines-
investigation-whether-non-citizens-voted (accessed February 1, 2019).
60
   Keith Ingram, Ingram Email to Counties Feb. 1, Secretary of State’s Director of Elections (February 1,
2019), cited by Alexa Ura, In advisory, Texas implies its list of thousands of voters flagged for citizenship
reviews could include naturalized citizens, Texas Tribune (February 1, 2019), available at
https://www.texastribune.org/2019/02/01/texas-acknowledges-its-list-thousands-texas-voters-flagged-
citizenship/ (accessed February 8, 2019).


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     128. As of the filing of this complaint, Defendant Whitley has not: rescinded his list of

        suspected non-U.S. citizens; rescinded his Election Advisory; or made any public statement

        acknowledging that his list of suspected non-U.S. citizen voters is flawed and wrongly

        identified thousands of naturalized U.S. citizens.

     129. In a February 6, 2019 videotapted interview regarding whether Defendant Governor

        Abbott still has “confidence in” Defendant Whitley, Defendant Abbott stated that

        Defendant Whitley “did exactly what he was supposed to do: following federal and state

        law, sending it to the counties and saying, ‘counties, listen, we’re going to have to rely

        upon you to further sort this out.’” 61 Defendant Abbott would not say whether Defendant

        Whitley had sent his list of suspected non-U.S. citizen voters to the Texas Attorney General

        for criminal investigation: “I can’t even confirm that that happened[. . .] All I know is

        what the process is[. . .] I know it has to be passed to the counties before it can be

        confirmed about who is or who is not allowed to be on the voter rolls.” 62

     130. In testimony before the Texas Senate Committee on Nominations on February 7, 2019,

        Defendant Whitley refused to say that he would withdraw his list of suspected non-U.S.

        citizen voters despite the fact that there are U.S. citizens on the list. 63




61
   FULL EXCHANGE: Gov. Abbott answers questions about voter list, KXAN (February 6, 2019),
available at https://www.kxan.com/video/full-exchange-gov-abbott-answers-questions-about-voter-
list_20190207043732/1761153960 (accessed February 7, 2019); see also Phil Prazan (@PhilPrazan),
Twitter, (February 6, 2019, 1:51 PM) https://twitter.com/PhilPrazan/status/1093265908963909642.
62
   FULL EXCHANGE: Gov. Abbott answers questions about voter list, KXAN (February 6, 2019),
available at https://www.kxan.com/video/full-exchange-gov-abbott-answers-questions-about-voter-
list_20190207043732/1761153960 (accessed February 7, 2019); see also Phil Prazan (@PhilPrazan),
Twitter, (February 6, 2019, 1:51 PM) https://twitter.com/PhilPrazan/status/1093265908963909642.
63
   Senate Committee on Nominations on February 7, 2019, The Texas Senate Audio/Video Archive –
2019 (timestamp: 2:48:59-2:51:00) (February 7, 2019) available at
http://tlcsenate.granicus.com/MediaPlayer.php?view_id=45&clip_id=13804 (accessed February 8, 2019).


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     131. Defendant Whitley confirmed that the voters on his list are still under investigation:

        “This maintenance activity is on-going, Senator [. . .] the counties don’t have a timeline

        when they are completing this maintenance activity; we are working with them every day

        on it.” 64

     132. Defendant Whitley further said he was not the appropriate person to tell the Texas

        Attorney General not to investigate the names on his list of suspected non-U.S. citizen

        voters: “I think that is a reasonable request[. . .] I am not sure it is appropriate coming

        from my office because I do not have any investigatory authority.” 65

Other States’ use of Driver’s License Records to Identify Non-U.S. Citizens on Their Voter Rolls
was Thoroughly Discredited Years ago

     133. Similar attempts by other states to identify non-U.S. citizen voters from motor vehicles

        records have been widely discredited, leading to an embarrassing withdrawal of claims by

        state elections officials in Florida and Colorado.

     134. In May 2012 the Florida Department of State launched a voter purge effort that originally

        identified 180,000 registered voters as potential non-U.S. citizens based on their driver’s

        license records. The Florida Department of State sent letters demanding proof of

        citizenship to 2,600 registered voters, a disproportionately high number of whom were

        Latino. 66




64
   Id. at 1:32:48-1:33:15.
65
   Id. at 2:51:27-2:52:07.
66
   Greg Allen, World War II Vet Caught Up In Florida's Voter Purge Controversy, NPR (May 31, 2012)
available at https://www.npr.org/sections/itsallpolitics/2012/05/31/154020289/world-war-ii-vet-caught-
up-in-floridas-voter-purge-controversy (accessed February 1, 2019); see also Janell Ross, Florida Voter
Purge Will Continue, Defying Federal Warning, Huffington Post (June 2, 2012) available at
https://www.huffingtonpost.com/2012/06/02/florida-voter-purge-federal-warning_n_1564131.html
(accessed February 1, 2019).


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     135. By September 2012, the Florida purge, which had faltered when county elections officials

        questioned the methodology, started up again, this time with a much smaller list of 198

        registered voters. 67 Ultimately, about 85 voters were removed from the rolls. 68

     136. In Colorado, the Secretary of State launched a similarly flawed voter purge of alleged

        non-U.S. citizens in 2012 that also dwindled to very small numbers. After claiming, based

        on driver’s license records, that there were up to 11,000 non-U.S. citizens on the Colorado

        voter rolls, and then sending almost 4,000 letters accusing individual registered voters of

        non-U.S. citizenship, Colorado Secretary of State Scott Gessler admitted that he thought

        141 voters were potentially non-U.S. citizens and that he could not confirm that any were

        non-U.S.-citizens before the General Election. 69      Ultimately 14 of these voters were

        removed from the rolls; none had voted. 70

Defendants’ Voter Purge Falls Far Outside State and Federal Authorization for Voter Roll
Maintenance

     137. In Texas, a “qualified voter” is a person who: is 18 years of age or older; is a United

        States citizen; has not been determined by a final judgment of a court to be mentally



67
   Steve Bousquet, Fla. Gov. Rick Scott's voter purge efforts start anew, Tampa Bay Times (September
27, 2012) available at http://www.tampabay.com/news/politics/national/fla-gov-rick-scotts-voter-purge-
efforts-start-anew/1253538 (accessed February 1, 2019).
68
   Steve Bousquet and Amy Sherman, Florida suspends non-citizen voter purge efforts, (March 27, 2014),
available at https://www.miamiherald.com/news/politics-government/article2087729.html (accessed
February 1 2019).
69
   Scott Gessler, Colorado’s Secretary Of State, Asks 4,000 Registered Voters For Proof Of Citizenship,
Huffington Post (August 17, 2012), available at https://www.huffingtonpost.com/2012/08/17/scott-
gessler-secretary-o_n_1796910.html (accessed February 1, 2019); Jordan Fabian, Voter Purging
Resurfaces in Colorado, ABC News (October 24, 2019) available at
https://abcnews.go.com/ABC_Univision/voter-purging-resurfaces-colorado/story?id=17552694 (accessed
February 1, 2019).
70
   Sam Levin, Out of fourteen illegal voters banned after Scott Gessler’s campaign, how many voted?
Zero Westword (October 12, 2012) available at https://www.westword.com/news/out-of-fourteen-illegal-
voters-banned-after-scott-gesslers-campaign-how-many-voted-zero-5868036 (accessed February 1,
2019).


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        incapacitated without the right to vote; is not a felon who has not completed the sentence

        associated with the felony; is a resident of Texas; and is registered to vote. 71

     138. A person seeking to register to vote in Texas must submit an application. The voter

        registrant must complete the application, affirm that he or she is a U.S. citizen, and sign

        below the statement:      “I understand that giving false information to procure a voter

        registration is perjury, and a crime under state and federal law. Conviction of this crime

        may result in imprisonment up to 180 days, a fine up to $2,000, or both.” 72

     139. In Texas counties, the “county tax assessor-collector is the voter registrar for the county

        unless the position of county elections administrator is created or the county clerk is

        designated as the voter registrar.” 73

     140. The Texas Election Code requires voter registrars to investigate or remove a voter from

        the rolls upon learning that the voter is no longer eligible. 74 The specific reasons provided

        by the Texas Election Code for cancelling a voter’s registration include: 75

              a. Current information that the voter is deceased;

              b. Current information that the voter has moved out of the jurisdiction;

              c. Current information that the voter has been convicted of a felony;

              d. Current information that the voter has been adjudicated mentally incompetent;

              e. Upon the request of the voter. 76




71
   Tex. Elec. Code Ann. § 11.002(a); see also Tex. Elec. Code Ann. § 13.001(a).
72
   See Tex. Elec. Code Ann. § 13.002(a)-(c) and the Texas voter registration form, available at
https://www.sos.state.tx.us/elections/forms/vr-with-receipt.pdf.
73
   See Tex. Elec. Code § 12.001.
74
   See generally, Tex. Elec. Code § 16.031 - 16.0332.
75
   Tex. Elec. Code § 16.031 (listing reasons for which registrars may immediately cancel registration)
76
   Tex. Elec. Code § 16.0331 (Cancellation on Request by Voter)


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     141. The Texas Election Code authorizes the voter registrar to cancel a voter registration

        immediately upon notice that the voter has died, been adjudicated mentally incompetent,

        been convicted of a felony or moved outside the county (when the notice of change in

        residence is provided by the voter or another county registrar). 77 All of this information

        must reflect the current status of the voter.

     142. In addition to the grounds for immediate cancellation, the Texas Election Code authorizes

        a voter registrar who has reason to believe that a voter “is no longer eligible for

        registration” to send a notice to the voter indicating that the voter’s registration status is

        under investigation by the registrar and the voter must provide proof of eligibility within 30

        days. 78

     143. With respect to a voter’s citizenship, the Texas Election Code only authorizes voter

        registrars to act on current information that the voter is not a U.S. citizen. The registrar

        must send a notice requiring proof of U.S. citizenship upon receiving information that the

        voter was excused or disqualified from jury service because of citizenship status. 79 The

        Texas Secretary of State provides quarterly reports to inform county registrars of any

        registered voters who have been excused or disqualified from jury service because the voter

        is not a U.S. citizen. 80

     144. Section 8 of the National Voter Registration Act (NVRA), 52 U.S.C. §20507, requires

        states to “conduct a general program that makes a reasonable effort to remove the names of

        ineligible voters from the official lists of eligible voters by reason of . . . the death of the


77
    See Tex. Elec. Code § 16.031 (listing reasons for which registrars may immediately cancel
registration).
78
   See Tex. Elec. Code § 16.033.
79
   See Tex. Elec. Code § 16.0332(a).
80
   See Tex. Elec. Code § 18.068.


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        registrant; or . . . a change in the residence of the registrant.” 52 U.S.C. §20507(a)(4).

        Although the NVRA contemplates that states would remove voters from the rolls for

        ineligibility, the NVRA does not authorize states to investigate or remove from the rolls

        voters who were not U.S. citizens at some point in the past. 52 U.S.C. §20507(a)(3).

     145. The Texas Transportation Code requires DPS to disclose “[p]ersonal information

        obtained . . . in connection with a motor vehicle record . . . [for use in connection with]

        voter registration or the administration of elections by the secretary of state.” 81 This

        requirement helps the State of Texas comply with the motor-voter provisions of the NVRA,

        which require departments of motor vehicles to prepare voter registration applications of

        their customers and transmit those applications to the Secretary of State. However this

        requirement that DPS share data with the Secretary of State does not authorize the

        Secretary of State to use outdated immigration information to single out registered voters

        for re-verification.

     146. Defendants’ voter purge, which selects voters for investigation and removal from the

        voter rolls based on data showing the voters immigrated to the United States at some point

        in the past, is not authorized by state or federal law.

     Cancellation of Voter Registration in Texas

     147. After the voter registrar cancels a voter’s registration, the voter registrar “shall maintain a

        file containing the duplicate initial registration certificates of voters whose registrations

        have been canceled.” 82

     148. A cancellation of a voter’s registration takes effect immediately. 83


81
   Tex. Transp. Code § 730.005.
82
   Tex. Elec. Code § 15.142(a)
83
   Tex. Elec. Code § 16.035


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     149. If a voter’s registration is cancelled for failure to respond to a Notice of Examination

        requiring proof of citizenship, in a subsequent election, even if the voter casts a provisional

        ballot and presents proof of citizenship to the registrar within five days, it is within the

        discretion of the voter registrar to reinstate the voter or require the voter to re-register. 84 If

        the voter is required to re-register, his or her provisional ballot would not be counted. 85

     150. If the voter registrar cancels a voter’s registration, the voter can challenge the

        cancellation by sending a request for a hearing to challenge the cancellation. 86 The voter

        registrar then must set a hearing no later than the tenth (10th) day after receiving the

        request for hearing. 87     At or before the hearing, the voter may submit evidence or

        argument by affidavit; after the hearing, the voter registrar “shall promptly determine the

        challenge and issue a decision in writing.” 88

                                         CAUSES OF ACTION

                                                COUNT 1

      (Violation of the Equal Protection Clause of the Fourteenth Amendment to the United

                 States Constitution by Discrimination Based on National Origin)

     151. Plaintiffs incorporate by reference the allegations in all preceding paragraphs.

     152. This claim is asserted by individual Plaintiffs on their own behalf and on behalf of all

        persons in the General Class.

     153. Section 1 of the Fourteenth Amendment provides: “All persons born or naturalized in the

        United States and subject to the jurisdiction thereof, are citizens of the United States and of


84
   Tex. Elec. Code § 16.037.
85
   Tex. Elec. Code § 65.054 (b)(1)
86
   See Tex. Elec. Code §§ 16.061-16.062.
87
   See Tex. Elec. Code § 16.064.
88
   See Tex. Elec. Code §§ 16.064(c), 16.066.


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   the State wherein they reside. . . . No State shall . . . deny to any person within its

   jurisdiction the equal protection of the laws.”

154. Defendants violate the Fourteenth Amendment because they deny to Plaintiffs, who are

   naturalized citizens of the United States, equal protection of the laws through Defendants’

   imposition of additional requirements to register to vote and to maintain voter registration

   that Defendants do not impose on native-born citizens. Defendants have no compelling

   interest in imposing such burdens and the procedures used by Defendants are not narrowly

   tailored.

155. Defendants’ violation caused and will cause harm to Plaintiffs.

                                           COUNT 2

               (Violation of Sec. 2 of the Voting Rights Act, 52 U.S.C. § 10301)

156. Plaintiffs incorporate by reference the allegations in all preceding paragraphs.

157. This claim is asserted by all Plaintiffs and by individual Plaintiffs on behalf of all persons

   in the Latino Subclass.

158. Section 2 of the Voting Rights Act, 52 U.S.C. § 10301, provides: “No voting

   qualification or prerequisite to voting or standard, practice, or procedure shall be imposed

   or applied by any State or political subdivision in a manner which results in a denial or

   abridgement of the right of any citizen of the United States to vote on account of race or

   color, or [membership in a language minority group].”

159. Defendants violate Section 2 of the Voting Rights Act by imposing a voting qualification

   or prerequisite to voting or standard, practice, or procedure through the additional

   requirements Defendants impose on Plaintiffs and other Latino naturalized citizens prior to

   such persons exercising their right to vote. Defendants’ imposition of such additional



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   requirements purposefully abridges and denies the right to vote of Plaintiffs, and the

   members and populations served by Plaintiff organizations, on account of their race, color

   or membership in a language minority group.

160. Defendants’ requirements will disproportionately and negatively affect Latinos, including

   Plaintiffs, because the Latino population in Texas has a higher ratio of naturalized citizens

   to native-born citizens when compared to the non-Latino population. Defendants’

   imposition of such additional requirements will result in denial and abridgment of the right

   to vote of Plaintiffs, and the members and populations served by Plaintiff organizations on

   account of their race, color or membership in a language minority group by making the

   political processes leading to nomination or election in Texas not equally open to

   participation by Latinos.

161. Defendants’ violation caused and will cause harm to Plaintiffs.

                                          COUNT 3

               (Violation of the Civil Rights Act of 1964, 52 U.S.C. § 10101)

162. Plaintiffs incorporate by reference the allegations in all preceding paragraphs.

163. This claim is asserted by all Plaintiffs and by individual Plaintiffs on behalf of all persons

   in the Latino Subclass.

164. Section 101 of the Civil Rights Act of 1964, as amended, provides: “(2) No person

   acting under color of law shall [] in determining whether any individual is qualified under

   State law or laws to vote in any election, apply any standard, practice, or procedure

   different from the standards, practices, or procedures applied under such law or laws to

   other individuals within the same county, parish, or similar political subdivision who have

   been found by State officials to be qualified to vote.” 52 U.S.C. § 10101(a)(2).



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165. Defendants violate the Civil Rights Act of 1964, 52 U.S.C. § 10101, because, under color

   of law, they impose additional requirements and procedures to prove eligibility to vote

   upon Plaintiffs and the members and populations served by Plaintiff organizations that they

   do not impose on other individuals that have been found by state officials to be qualified to

   vote. Defendants impose additional requirements and procedures to prove eligibility to

   vote because of Plaintiffs’ race, color or national origin.

166. Defendants’ violation caused and will cause harm to Plaintiffs.

                                          COUNT 4

        (Violation of 42 U.S.C. § 1985, Conspiracy to Interfere with Civil Rights)

167. Plaintiffs incorporate by reference the allegations in all preceding paragraphs.

168. This claim is asserted by individual Plaintiffs on their own behalf and on behalf of all

   persons in the General Class.

169. 42 U.S.C. § 1985(3) provides: “If two or more persons in any State or Territory conspire

   . . . for the purpose of depriving, either directly or indirectly, any person or class of persons

   of the equal protection of the laws, or of equal privileges and immunities under the laws; or

   for the purpose of preventing or hindering the constituted authorities of any State or

   Territory from giving or securing to all persons within such State or Territory the equal

   protection of the laws; or if two or more persons conspire to prevent by force, intimidation,

   or threat, any citizen who is lawfully entitled to vote, from giving his support or advocacy

   in a legal manner, toward or in favor of the election of any lawfully qualified person as an

   elector[. . .] [I]n any case of conspiracy set forth in this section, if one or more persons

   engaged therein do, or cause to be done, any act in furtherance of the object of such

   conspiracy, whereby another is . . . deprived of having and exercising any right or privilege



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   of a citizen of the United States, the party so injured or deprived may have an action for the

   recovery of damages occasioned by such injury or deprivation, against any one or more of

   the conspirators.”

170. Defendants Abbott, Paxton, and Whitley violate § 1985(3) because they conspire and

   have conspired to deny Plaintiffs, on the basis of race and national origin, the equal

   protection of the laws as detailed above in Count 1 and to deny Plaintiffs’ rights under the

   federal Voting Rights Act.

171. Defendants Abbott, Paxton, and Whitley additionally violated § 1985(3) because they

   conspire and have conspired to prevent Plaintiffs from exercising their right to vote in

   federal elections by intimidation and threats. Such intimidation and threats included the

   Election Advisory, release of lists of suspect voters to counties, and public statements that

   Plaintiffs’ past and future actions to register to vote and to vote amount to voter fraud.

172. Defendants’ violation caused and will cause harm to Plaintiffs.

                                             COUNT 5

 (Violation of the First and Fourteenth Amendments to the United States Constitution

                 Protections Against Undue Burden on the Right to Vote)

173. Plaintiffs incorporate by reference the allegations in all preceding paragraphs.

174. This claim is asserted by individual Plaintiffs on their own behalf and on behalf of all

   persons in the General Class.

175. Defendants’ actions and omissions that impose additional requirements to register to vote

   and to maintain voter registration unreasonably infringe upon Plaintiffs’ right to vote under

   the First and Fourteenth Amendments.            Defendants’ imposition of such additional

   requirements is invidious and constitutionally infirm because, among other things, these



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   additional requirements are based on a flawed methodology that subjects Plaintiffs to a

   franchise challenge where no grounds for a challenge exist, are discriminatory on the basis

   of race, color, and national-origin, imposes overly-restrictive cure procedures, do not

   provide reasonable notice or due process prior to removal from the voter rolls, do not

   provide a mechanism to ensure that improperly removed voters are returned to the voter

   rolls in a timely manner, and will deprive Plaintiffs of the right to vote.

176. To the extent Defendants assert any interests to justify their actions and omissions, those

   interests do not justify Defendants’ imposition of additional requirements to register to vote

   and to maintain voter registration.

177. Defendants’ violation caused and will cause harm to Plaintiffs.

                                           COUNT 6

  (Violation of the Fourteenth Amendment Equal Protection and Due Process Clauses

                    by Arbitrary and Disparate Treatment of Voters)

178. Plaintiffs incorporate by reference the allegations in all preceding paragraphs.

179. This claim is asserted by individual Plaintiffs on their own behalf and on behalf of all

   persons in the General Class.

180. The Fourteenth Amendment requires election officials to avoid arbitrary and disparate

   treatment of the members of the electorate. Defendants’ voter purge is riddled with

   inconsistent treatment by State and local officials and lacks rules and guidance from State

   Defendants to ensure uniform treatment of voters.           The investigation into Plaintiffs’

   citizenship has employed varying standards county by county and the voter purge does not

   satisfy the minimum requirement for non-arbitrary treatment of voters necessary to secure

   the fundamental right to vote.



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181. Defendants’ violation caused and will cause harm to Plaintiffs.

                              CLASS ACTION ALLEGATIONS

182. This action is properly maintained as a class action pursuant to Federal Rules of Civil

   Procedure 23.

183. Members of the putative class and subclass are so numerous that joinder is impracticable.

   Defendant Whitley’s list of suspect voters includes approximately 98,000 individuals,

   including thousands of naturalized U.S. citizens who meet the General Class definition. A

   high percentage of naturalized U.S. citizens in Texas are Latino, and thousands of such

   citizens appear on Defendant Whitley’s list and meet the Latino Subclass definitions.

   Additionally, membership in the putative class and subclass is fluid because Defendant

   Whitley has advised that he will update his list according to his flawed methodology. This

   fluidity makes joinder of all class and subclass members impracticable.

184. The putative class and subclass share common questions of fact and law. All class

   members complain of Defendants’ creation and use of a list that uniformly imposes

   burdens and obligations on class members and threatens to deprive all class members of

   their rights to equally access the political process and to vote.     Defendants’ conduct

   discriminates against all Latino Subclass members by imposing the same burdens and

   obligations on the members, and Defendants’ actions disproportionately and negatively

   affect the Latinos who comprise this subclass.

185. The claims alleged by the named individual Plaintiffs are typical of the claims of all

   members of the putative General Class because the actions and policies challenged apply

   with the same force to the named individual Plaintiffs as they do to all other members of

   the General Class. Likewise, the claims alleged by the named individual Plaintiffs for the



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   Latino Subclass are typical of the claims of the putative members of the Latino Subclass

   because the actions and policies challenged apply with the same force to the named

   individual members of the Latino Subclass as they do to all other members of the Latino

   Subclass.

186. The named individual Plaintiffs will fairly and adequately protect the interest of the class

   and subclass because there are no conflicts of interest between any class or subclass

   members and the named individual Plaintiffs possess a strong personal interest in the

   subject matter of this lawsuit and the claims raised. Plaintiffs are represented by counsel

   with expertise in class action litigation and litigation involving constitutional law and

   voting rights. Counsel has the legal knowledge and resources to fairly and adequately

   represent the interests of all class and subclass members in this action.

187. This class action may be maintained under Federal Rule of Civil Procedure 23(b)

   because prosecuting separate actions by individual class members would create a risk of

   inconsistent or varying adjudications with respect to individual class and subclass members

   that would establish incompatible standards of conduct for Defendants. Defendants also

   have acted or failed to act on grounds that generally apply to all class and subclass

   members, necessitating the declaratory and injunctive relief Plaintiffs seek. In addition,

   questions of law and fact common to class and subclass members predominate over

   questions affecting only individual class and subclass members. A class action is superior

   to other available methods for fairly and efficiently adjudicating the controversy because,

   among other things, a class action would concentrate a multiplicity of individual actions,

   which share common fact and legal disputes, into a single forum.




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                                    PRAYER FOR RELIEF

WHEREFORE, Plaintiffs respectfully request that this Court:

   (a) Assume jurisdiction over this matter;

   (b) Certify this case as a class action pursuant to Federal Rule of Civil Procedure 23, to

       consist of a plaintiff class and subclass as defined above;

   (c) Declare that Defendants’ actions described herein violate Plaintiffs’ rights under the

       Fourteenth Amendment to the United States Constitution; the First Amendment to the

       United States Constitution; Section 2 of the Voting Rights Act, 52 U.S. § 10301; the Civil

       Rights Act of 1964, 52 U.S. § 10101; and 42 U.S.C. §1985(3);

   (d) Enjoin Defendants, and all others acting in concert with them, from obtaining, disclosing,

       or using for any matter of voter registration, the administration of elections, or

       investigations regarding eligibility to vote, any records maintained by the Texas

       Department of Public Safety showing non-U.S. citizenship prior to the date of voter

       registration;

   (e) Enjoin Defendants, and all others acting in concert with them, from investigating or

       instructing any other person or entity to investigate the eligibility to vote of any person

       identified through records obtained from the Texas Department of Public Safety that

       show non-U.S. citizenship prior to the date of voter registration;

   (f) Enjoin Defendants, and all others acting in concert with them, from issuing or instructing

       any other person or entity to issue a letter, notice, or advisory (including Notices of

       Examination) regarding any matter of voter registration, the administration of elections,

       or eligibility to vote based on records maintained by the Texas Department of Public

       Safety showing non-U.S. citizenship of a voter prior to the date of voter registration.



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   (g) Order Defendants county voter registrars to refrain from cancelling, and/or to reinstate

      the voter registration of any voter following investigation into eligibility to vote based on

      records maintained by the Texas Department of Public Safety showing non-U.S.

      citizenship prior to the date of voter registration;

   (h) Order Defendants to announce publicly that Defendant Whitley’s list of suspected non-

      citizen voters does not contain current evidence of non-U.S. citizenship of voters and

      announce publicly the contents of the Court’s injunction;

   (i) Award Plaintiffs damages in a sum to be determined by the Court;

   (j) Award Plaintiffs’ attorney fees and costs incurred in this action under 42 U.S.C. §§ 1988,

      52 U.S.C.A. § 10310, and any other applicable law;

   (k) Order, pursuant to 52 U.S.C. § 10302(c) that Defendants can enforce no change in voting

      qualification or prerequisite to voting, or standard, practice, or procedure unless and until

      the change is precleared by this Court or by the U.S. Attorney General pursuant to section

      5 of the Voting Rights Act, 52 U.S. Code § 10304;

   (l) Maintain jurisdiction over this action;

   (m) Grant such other and further relief as may be deemed just and proper.


Dated: February 10, 2019                              Respectfully Submitted,

                                                      MEXICAN AMERICAN LEGAL
                                                      DEFENSE AND EDUCATIONAL FUND
                                                      By: /s/ Nina Perales
                                                      Nina Perales (Tex. Bar No. 24005046);
                                                      Attorney-in-Charge
                                                      Ernest I. Herrera (Tex. Bar No. 24094718)
                                                      (SD of Tex. Bar No. 2867694)
                                                      Alejandra Ávila (Tex. Bar No. 24089252)
                                                      (SD of Tex. Bar No. 2677912)
                                                      Jack Salmon (Tex. Bar No. 24068914)

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                                                     (SD of Tex. Bar No. 1130532)
                                                     110 Broadway, Suite 300
                                                     San Antonio, Texas 78205
                                                     Phone: (210) 224-5476
                                                     Facsimile: (210) 224-5382
                                                     Email: nperales@maldef.org

                                                     Attorneys for Plaintiffs


                                CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that, on the 10th day of February, I electronically filed

the above and foregoing document using the CM/ECF system, which automatically sends notice

and a copy of the filing to all counsel of record. I also sent, by electronic mail, a copy of this

Application to counsel for State Defendants and to Mr. Bob Boemer, of the Galveston County’s

District Attorney’s Office. I further sent, by electronic mail, the above and foregoing document

to the following attorneys in their respective county offices: Jesse Skinner (Austin County) and

Thomas Wilson (Smith County). I further sent, by facsimile, the above and foregoing document

to Angela Albers in the District Attorney’s office of Wood County, f. 903-763-5105.

                                                     /s/ Nina Perales
                                                     Nina Perales




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                                        VERIFICATION

        I, Julieta Garibay, a citizen of the United States and resident of the State of Texas, am a
plaintiff in this action. I have read the foregoing First Amended Class-Action Complaint and
verify under penalty of perjury pursuant to 28 U.S.C § 1746 that the foregoing facts are correct
and true to the best of my knowledge and belief, and that those factual matters that are stated
upon information and belief are believed by me to be true.

       Executed in Travis County, Texas on February ​10​, 2019.




                                                              _​________________________
                                                                      Julieta Garibay
